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UNITED STATES DISTRICT COURT
W ESTERN DISTRICT OF NEW YORK


UNITED STATES OF AMERICA,


                v.                                                    ORDER
                                                                     04-CR-189
RONNIE FUNDERBUNK,

                                         Defendant.




        Defendant Ronnie Funderburk filed an omnibus motion on July 15, 2005,

requesting, inter alia, (1) a bill of particulars; (2) disclosure of the identities of

informants; and (3) severance. On October 19, 2005, the case was referred to

Magistrate Judge Leslie G. Foschio, pursuant to 28 U.S.C. § 636(b)(1)(A). On

February 24, 2006, Magistrate Judge Foschio filed a Decision and Order, denying

defendant’s requests for (1) a bill of particulars; (2) disclosure of the identities of

informants; and (3) severance.

        O n O cto b e r 2 3 , 2 0 0 6 , d e fe n d a n t filed o b je ctio n s to th e D e cisio n a n d

O rd e r. T h e g ove rn m e n t file d a re sp o n se o n D e ce m b e r 1 5 , 2 0 0 6 , a n d th e

C o u rt h e a rd o ra l a rg u m e n t on the o b je ctio n s o n Ja n u a ry 2 5 , 20 0 7 .

        P u rsu a n t to 2 8 U .S .C . § 6 3 6 (b)(1 )(A ), th e d istrict co u rt "m a y

re co n sid e r a n y p re tria l m a tte r u n d e r th is [se ctio n ] w h e re it h a s b e e n

sh o w n th a t th e m a g istrate 's o rde r is cle a rly e rro n e o u s o r co n trary to la w ."

T h e C o u rt h a s re vie w e d d e fe n d a n ts' o b je ctio n s an d M a g istra te Ju d g e
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F o sch io ’s D e cisio n a n d O rd e r. U p o n su ch re vie w a n d a fte r h e a rin g

a rg u m e n t fro m co u n se l, th e C o u rt fin d s th a t M a g istra te Ju d g e F o sch io 's

D e cisio n a n d O rd e r is n e ith e r cle a rly e rro n e o u s n o r co n tra ry to la w .

        A cco rd in g ly, th e C o u rt affirm s the D e cisio n a n d O rd e r.

                SO ORDERED.

                                                s/ Richard J. Arcara
                                                HONORABLE RICHARD J. ARCARA
                                                CHIEF JUDGE
                                                UNITED STATES DISTRICT COURT

DATED: February 22, 2007




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